. so UNITED STATES DISTRICT COURT
J. S.DISTAKST COURT = EASTERN DISTRICT OF MISSOURI

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Wanda Wright, et al, }
Plaintiff{s),

Vs. Case No. 4:03CV1843 CDP
DaimlerChrysler Corp.,
Defendant(s).

ALTERNATIVE DISPUTE RESOLUTION COMPLIANCE REPORT

In accordance with the Court's Order Referring Case to ADR, dated February 11, 2005,

KX An ADR conference was held on: March 18, 2005

x All required individuals, parties, counsel of record, corporate representatives, and/or
claims professionals attended and participated in the ADR conference in good faith, and each
possessed the requisite settlement authority;

Cc] The following individuals, parties, counsel ofrecord, corporate representatives, and/or
claims professionals failed to appear and/or participate in good faith as ordered:

The ADR referral was concluded on March 18 , 2005

and the parties {& did (| did not| achieve a settlement.
Check One

Ty Although this case was referred to ADR, a conference WAS NOT HELD.

Comments:
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Date Neufral 7

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